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                      This is a Sub-Agent Contract between the Sub-Agent referred to below
                   ("You" or "Your) and The Baltimore Life Insurance Company (the "Company"),


t    AGREEMENT                                                     should not deliver the policy but rather should
     The Sub-Agent agrees to represent tile Company,               immediately forward to the Company full
     subject to the authority delegated herein, and to             details including the nature of the disorder, the
     abide by the terms of this Contract. The Company              date of inception, and the extent of treatment.
     agrees to compensate the Sub-Agent according to               Policies are not to be delivered unless each
     the terms of this Contract and the compensation               person insured by the policy is in the same
     schedules, attached hereto and made a part hereof.            health and insurable condition as represented
     The Sub-Agent is an independent contractor=                   in the policy application.
     and this Contract does not create an. employer/          do   Use best efforts to provide satisfactory service
     employee relationship between the Company and                 to those policyholders solicited by or assigned
     rbe Sub-Agent.                                                to the Sub-Agent.
    AUTHORITY AND RESPONS][BILITY OF THE                           Be responsible for any and all indebtedness
    SUB-AGENT                                                      to the Company of the Sub-Agent. Sub-Agent
    The Sub-Agent is audlorized by the Company to                  agrees to reimburse the Company for all costs
    perform the following duties. The Sub-Agent agrees             and expenses incurred in collecting such debt.
    to perform these duties according to the Company’s             Procure and maintain all necessary licenses
    practices and procedures, which may ch.ange from               required for the Sub-Agent to solicit
    time to ~ime.                                                  applications for or sell or service any of the
         Procure and submit to the Company personally              Company’s policies.
         and through sub-agents applications for life              Conform to all applicable laws and regulations
         insurance, health insurance aud annuities.                governing the solicitation, sa|e and servicing of
         Assure that appIicatlons are accurately                   life insurance~ health insurance and annuities.
         completed and fully disclose ro the Company               Be responsib!.e for all property of the Company
         all facts which could affect the Company’s                tent or leased to the Sub-Agent and conform to
         decision regarding the issuing of the policy.             the terms of any loan or lease agreement.
         Ensure that the application is reviewed by the            Cooperate at all times with the Company or
         applicant before it is signed by the applicant            any of its rep,’esentatives in any inquiry or
         and that it is signed in your presence or in the          investigation as it may relate to th.e business
         presence of sub-agent.                                    of the Company, including but not limited to,
     b. Assm:e that all sa!es, marketing and service               any within the context of an administrative,
         activities invo]ving the Company or any of the            regulatory, or judicial proceeding. Sub-Ageut
         Company’s products which are conducted by                 will notify the Company promptly upon
         the Sub-Agent strictly adhere to tile Company’s           receipt of any complaint. In accordance
         Market Conduct Training Manual as well as                 with applicabIe ]aws and regulations you
         any other communicated rules of the company               shall maintain accurate and complete books,
         and incorporated herein by reference to form a            records, accounts, correspondence or other
         part of this contract.                                    data relating to all the business o£ the
     c. Those policies provided to you for delivery                Company. The Company shall at all times
         issued on the applications referenced in sub-             have the right to inspect any and all books,
         paragraph. {a) above should be promptly                   records, accounts, correspondence, or data in
         delivered to the policyowner, provided the                your office or kept by you or any agent so far
         initial premium has been paid. If, at the time            as the same may relate to the business of tile
         of delivery, ~he insured is not in the same               Company, and to make such extracts or copies
         health and insurable condition as represented             as ir may desire.
         in the policy application, the Sub-Agent


                                                                                                   Form 8160-0913




                                                                                                             Griffin 000006
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!ti, LIMITS OF TfqE SUB-AGENT’S AUTHORITY                       b. Upon the dea:ll of the Sub-Agent.
     Tim Sub-Agent agrees NOT to perform any acts on            c. Upon ~he termination of the Sub-Ageut’s life or
     behalf of the Company for which the Sub-Agent is              health insurance license.
     nor authorized, including, but not limited to, the         d. Upon a material breach of any of the terms of
     fo][owing:                                                    this Contract as determined by ~he Company in
     a. Incur any debt, expense or liability on behalf of          its sole and absolule discretion.
          the Company.                                          e. Not withstanding any other provision in this
     h. Modify or waive any of the provisions of the               Contract, and whetl~er such events occur prior
          Company’s poIicies, applications, or contracts;          to or after termination of this Contract, upon
          or bind the Company in any way.                          the occurrence ot: any of the events set forth in
     c. Misquote or incorrectly illustrate any rates or            paragraph V.: section e., subsections 1. through
          values for any of the Company’s products.                8. The provisions ol: paragraph V., section.
     d. Use any materials, proposals, illustrations, or            e., subsections 1. through 8. sbatl survive the
          advertising ider, tit~ed with the Company or             termination of this Contract.
          any of the Company’ products, wbicb have not                  Upon the commission of any act of fraud,
          been previously submitted to the Company for                  theft or misappropriation of funds,
          a pproval and have not received specific written              involving the Compauy: by the Sub-Agent.
          approval from the Company.                               2. Submission to the Company of information
     e. Collect any money on behatf of ~he Company,                     which the Sub-Agent knmvs to be false.
          exce.pt for initial premiums on business                 3. Failure to disclose to tile Company
          solicited by the Sub-Agent.                                   any medical or personal history of aW
     f. Make any representation o.r state any opinion                   applicant for any of the Company’s policies
          regarding the validity or payment of any ctaim.               of which the Sub-Agent has knowledge.
IV. COMPENSATION                                                   4. Inducing any poficyholder to terminate any
       a. Sub-Agent acknowledges and authorizes the                     policy with the Company without the prior
           Company to pay olI compensation arising                      written approval of the Company.
           from the sate of the Company’s products                 5. Upon the Sub-Agent pleading guilty or
           directly to the appointing Agent/Agency                      nolo coutendere or upon being com:icted of
           listed on this Agreement.                                    a crime involving moral turpitude.
       b. The amount of any compensation payable                   6..Any action on your part that could
            to the Sub-Agent shall be as agreed between                 reasonably be construed to be defamatory,
           tlae Sub-Agent and the appointing Agent/                     slanderous, libelous, or materially
           Agency.                                                      ptejt~dicial to the Company.
       c. The Company shaIt assume no responsibility               7. Failure to fully pay outstanding debt owed
           whatsoever to the Sub-Agent for the                          to the Company within 60 days of such
           payment of any compensation that has been                    date such debt is incurred.
           paid to the appointing Agent/Agency by                  8. Upon any act that violates market conduct
           virtue of insurance business written by the
                                                                        rules as described in the disciplinary
           Sub-Agent.
                                                                        actions section of the Market Conduct
       d. Sub-Agent releases the Company from any
                                                                        Training Manual.
           and all liability rela*ing to the payment of
                                                                   Upon termination of this Contract, you shall
           Sub-Agent’s compensation to the appointing
                                                                   immediately pay to the Company all sums due
           Agent/Agency.
                                                                   and deliver to the Company all brochures,
       e. Any claim Sub-Agent has regarding his/
           her compensation shall be against the                   publications, and other materials connected
           appointing Agent/Agency and not the                     with the sale of Company products. Upon
           Company.                                                termination for cause, you forfeit all rights to
       f. The Company has the right to receive                     future commissions, and the Company reserves
           information on the compensation being                   the right to retain, reassign, or cancet any
           paid to the Sub-Agent by the appointing                 of your generat agents, agents or subagents
           Agent/Agency.                                           without any further obligation to you.
V. TERMINATION                                               VL GENERAL PROVISIONS
     Tbls Contract, .together with any riders, supplements      a. Tile Company may reiect applications for
     and endorsements hereto, shall terminate on the               policies, Iimi~ the amount or plan of insurance,
     occurrence of any of the ~ollowing:                           or requite a higher premium than applied for,
     a. Thirty (30! days followh~g the mailing of                  if not prohibited by law.
          written notice by either party to the last known      b. The Company may alter oi: withdraw existing
          address of such od~er party.                             insurance products, introduce new insurance

                                                                                                    Form 8t60-09t3




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   products, and enter or withdraw from                 agrees to accept service of process in arid to
   terrkories, ar its sole discretion. The Company      submit ro the jurisdiction of the federal or state
   shall not be liable m Sub-Agent in connection        courts located within the State of _Maryland
   with such actions.                                   for any matter involving this Contract. In
c. FaiIure ot~ the Company to promptly enforce          any actiou, suit or proceeding brought by the
   non-compliance with the terms of this Contract       Company, you agree not to assert that such
   does not constitute a waiver of such terms.          action, suit or proceeding is brought in an
   Further, the waiver by the Company of any            inconvenient forum or that the venue of the
   term or right of enforcement contai~ed in this       action, suit or proceeding is improper.
   Contract shall not coustitute a waiver of any        The provisions of this Co~tract shatl be deemed
   subsequm~t breach or right of enforcement.           severable. In the event ar~y provision in this
d. This Contract supersedes any previous                Contract is determined to be unenforceable
   Contracts between the Sub-Agent and the              or invalid, such provision shall nonetheless
   Company. It does not release the Sub-Agent           be enforced to the fullest extent permitted by
   from financial obligations owed or assumed           applicable law, and such determination shall
   prior to its effective date.                         not affect the validity and enforceability of any
e. No modification, amendment, or assignment of         other provisions in this Contract.
   this Contract will be valid unIess approved in       The Company reserves the right in its sole
   writing by a Vice President or President of the      discretion when settling disputed claims or
   Compa uy.                                            complaints of a policyholder to refund any"
   The Sub-Agen.t shall maintain error and              premium or premiums paid on a policy or
   ommissions insurance and provide Company             contract produced under this Contract directly
   evidence of such coverage upon request.              by the Sub-Agent. If such a refund is made,
g. The financial obligations of this Contract           other than as part ot: the benefits provided
   shall be banding upon the parties, their heirs,      by the policy or contract, the Sub-Agent
   successors and assigns.                              shaI1 be charged with andtor shall repay to
h. You agree to hold harmless, defend (with             the Company, any compensation paid to
   counsel reasonably acceptable to the Company)        Sub-Agent on the premium or premimns so
   and indemnify the Company against any                refunded.
   claims, judgments, settlements, costs, expenses      You understand and acknowledge that during
   or other damages, including attorneys fees,          the term of Otis Contract you may gain
   which the Company may suffer or incur as the         access to certain confidential and proprietary
   result of any breach of this Contract or any         information relating to the Company and
   negligent, fraudulent, or unauthorized act,          its business and you agree to keep all such
   or error or omission, of you, or any of yoLtr        information confidential. You agree that any
   employees, agents, or officers. The Company          and all "Nonpublic Personal Information"
   shall have exclusive authority to direct the         obtained by you on behalf o, or from the
   defense and effect any settlement in any action      Company in the performance of your duties
   for which the foregoing indenmity inay apply.        and obligations under this Contract shall be
   You shall upon demand, pay the Company               used by you only as necessary to fulfill your
   as a debt due hereunder any sums due to it           obligations under this Contract and shatI
   in accordance with this paragraph, as well           not be disclosed to any other person unless
   as any monies expended by the Company                specifically authorized in writing by the
   in answering or defending any attachment,            Company, or the person who is the subiect
   garnishment, or other proceediugs involving          of the "Nonpublic Personal Information," or
   you, your employees, or officers, or any agent       as otherwise permitted by law, "Nonpublic
   or other individual under your direct control        Personal Information" l~as the meaning set
   and supervision. You agree that under no             forth in section 509 of the Gramm-Leach-
   circumstances whatsoever shall the Company           Bliley Act (P.L. 106-102) and any federal and
   be liable to you {or anym~e c{aiming through         state laws and regulatiot~s that implement that
   you) for any tost profits or indirect, incidental,   Act and includes but is riot limited to name,
   punitive, or consequential damages in                address, and financial or health information of
   connection with this Contract.                       a policyholder, insured, applicant, or prospect.
i. This Contract is governed by the Laws of the         You agree to establish physical, electronic,
   State of Maryland (without regard to any             and administrative procedures to protec~ the
   choice of law provisions) and each party hereto      security and confidentiality of "Nonpnbiic


                                                                                         Form [~ 160-0913




                                                                                                  Griffin 000008
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                                                           to the contrary, ~he ~crmination o.f d~is Contract,
                                                           whether with or without cause~ shall be construed
                                                           as a terminat{ot~ of: (a) your appointment
                                                           and your authority urldel: Pa~:agraph ! of this
                                                           Contvact$ (b) your authm’ity under Paragraph
                                                           1i of this Contract; and {c) the Company’s
                                                           obligations under Paragtaph IV of this Cow, tract.
                                                           All other provisions of this Conoracr sI~all survive
                                                           any termin.ation of tt~is Coritract,




                                                                                  05/11/2018
Ti~e BaJfimore Life l_nsurance Cot~pa.ny                       Date

                                 ~NOT EFFECTIVE UNTIL SIGNED BY COMPAaNY~




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                                                                                                       Griffin 000009
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                              Amendment to All Baltimore Life Contracts
                                                    Effective March 25, 2015

All Baltimore Life contracts are hereby amended to prohibit the "Use or permit on behalf of the Company an auto-dialer
device for any means, or the use or permit on behalf of the Company a predictive dialer device without the prior written
approval from the Company." Language specific to your contract is shown below.


Please print and retain a copy of this amendment with your Baltimore Life contract.


INDEPENDENT MARKETING ORGANIZATION CONTRACT
Section 111. (LIMITS OF THE IMO’S AUTHORITY) of your contract which reads in part : "The IMO agrees NOT to perform any
acts on behalf of the Company for which the I MO is not authorized, including, but not limited to, the following:", be amended
to add new subsection g. which provides" Use or permit on behalf of the Company an auto-dialer device for any means, or
use or permit on behalf of the Company a predictive dialer device without the prior written approval from the Company."


AGENT CONTRACT
Section 111. (LIMITS OF THE AGENT’S AUTHORITY) of your contract which reads in part : "The Agent agrees NOT to perform
any acts on behalf of the Company for which the Agent is not authorized, including, but not limited to, the following:", be
amended to add new subsection g. which provides " Use or permit on behalf of the Company an auto-dialer device for any
means, or use or permit on behalf of the Company a predictive dialer device without the prior written approval from the
Company."


SUB-AGENT CONTRACT
Section 111. (LIMITS OF THE SUB-AGENT’S AUTHORITY) of your contract which reads in part : "The Sub- Agent agrees NOT to
perform any acts on behalf of the Company for which the Sub- Agent is not authorized, including, but not limited to, the
following:", be amended to add new subsection g. which provides " Use or permit on behalf of the Company an auto-dialer
device for any means, or use or permit on behalf of the Company a predictive dialer device without the prior written approval
from the Company."


CAREER AGENCY SALES GROUP EMPLOYMENT AGREEMENT
Section 111. (LIMITS OF EMPLOYEE’S AUTHORITY) of your contract which reads in part : "The Employee agrees NOT to
perform any acts on behalf of the Company for which the Employee is not authorized, including, but not limited to, the
following:", be amended to add new subsection L. which provides " Use or permit on behalf of the Company an auto-dialer
device for any means, or use or permit on behalf of the Company a predictive dialer device without the prior written approval
from the Company."


GENERAL AGENT CONTRACT
Section 111. (LIMITS OF THE GA’S AUTHORITY) of your contract which reads in part : "The GA agrees NOT to perform any acts
on behalf of the Company for which the GA is not authorized, including, but not limited to, the following:", be amended to add
new subsection g. which provides " Use or permit on behalf of the Company an auto-dialer device for any means, or use or
permit on behalf of the Company a predictive dialer device without the prior written approval from the Company."




Damian Salvi, CLU, LLIF, LUTCF
Senior Vice President, Chief Distribution Officer



                                           The Baltimore Life Insurance Company
                           10075   Red Run Boulevard I Owings Mills, MD 21117 I (800) 628-5433
                                                                                                               Form 8640-0315



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